                        UUUNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION
                                  AT PIKEVILLE
                        CIVIL ACTION NO. 7:21-cv-00004-DLB


RYAN HALL and
HEATHER HALL, his wife                                                            PLAINTIFFS

v.                     DECLARATION OF NANCY REINHARD


UNITED SERVICES AUTOMOBILE ASSOCIATION
d/b/a USAA CASUALTY INSURANCE COMPANY
and
GARRISON PROPERTY AND CASUALTY INSURANCE COMPANY                                DEFENDANTS

                                        *    *    *    *    *

STATE OF TEXAS                )
                              ) ss
COUNTY OF BEXAR               )

     I, Nancy Reinhard, hereby state and declare the following:

     1.     I am over twenty-one years of age, of sound mind, and competent to testify. I have

            personal knowledge of the facts stated in this declaration. If called as a witness, I

            could testify as to each of them.

     2.     I am employed by United Services Automobile Association (“USAA”). My title is

            Vice President, Corporate Controller.

     3.     USAA Casualty Insurance Company (“USAA CIC”) is a wholly-owned subsidiary

            of USAA.

     4.     USAA CIC is a privately held corporation organized in 1968 under the laws of the

            State of Texas.




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       5.     USAA CIC’s officers direct, control, and coordinate all of USAA CIC’s activities

              from its corporate headquarters at 9800 Fredericksburg Road, San Antonio, Bexar

              County, Texas, which is also its principal place of business.

       6.     Garrison Property and Casualty Insurance Company (“Garrison”) is a wholly-

              owned subsidiary of USAA CIC.

       7.     Garrison is a privately held corporation organized in December 1900 under the laws

              of the State of Texas.

       8.     Garrison’s officers direct, control, and coordinate all of Garrison’s activities from

              its corporate headquarters at 9800 Fredericksburg Road, San Antonio, Bexar

              County, Texas, which is also its principal place of business.

       9.     Rental Property Insurance Policy No. GAR 04200 34 97 80A0 was issued to Ryan

              Hall by Garrison; it was not issued by USAA CIC or USAA.

       10.    I declare under penalty of perjury and pursuant to 28 U.S.C. § 1746 that the

              foregoing statements are true and correct.

       AFFIANT FURTHER SAYETH NAUGHT.

Executed on this _____
                 25th day of February, 2021.



                                                      _________________________________
                                                      NANCY REINHARD




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